                  Case 22-10261-JKS        Doc 43      Filed 01/09/23      Page 1 of 2




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


    In re
                                                   Chapter 15
    POINT INVESTMENTS, LTD.
    (IN LIQUIDATION),1                             Case No. 22-10261-JKS

             Debtor in a Foreign Proceeding.


                        NOTICE OF CHANGE OF DEBTOR’S ADDRESS

            PLEASE TAKE NOTICE that the mailing address for the above-captioned debtor (the

“Debtor”) has changed to:

                  c/o Kroll Bermuda
                  The Vallis Building, 4th Floor
                  58 Par-La-Ville Road
                  Hamilton, HM 11
                  Bermuda

            PLEASE TAKE FURTHER NOTICE that all future pleadings, correspondence, and

other documents that require receipt by the Debtor are to be directed to the new mailing address.


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1
  The Debtor is a Bermuda exempted company registered with the Registrar of Companies in Bermuda
under registration number 43769. The Debtor’s registered office is c/o Kroll Bermuda, The Vallis Building,
4th Floor, 58 Par-La-Ville Road, Hamilton, HM 11, Bermuda.
             Case 22-10261-JKS   Doc 43    Filed 01/09/23    Page 2 of 2




                                          Respectfully submitted,

Dated: January 9, 2023
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